 

STATE OF NORTH CAROLINA

 

File No
> 17CRS050352

 

 

 

 

 

 

 

 

 

 

GASTON County In The General Court Of Justice
Superior Court Division
STATE VERSUS
Name And Adaress Of Defendant
JEFFREY DONALD BLACK
INDICTMENT
115 GREEN ST
CHARLOTTE NC 28214
Race Sex Bate OF hin LJ This is a superseding indictment.
WwW M 05/22/1978
Date Of Offense
Offense(s) OR G.S. No. CL.
Date Range Of Offense
1 LARCENY OF MOTOR VEHICLE (F) 08/03/2016 14-72(A) H
1], BREAKING AND OR ENTERING (F) 08/03/2016 14-54(A) H
IIT. WisDEMEANOR LARCENY 08/03/2016 14-72(A)

 

 

 

I. The jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county named
above the defendant named above unlawfully, willfully and feloniously did

steal, take, and carry away a 2001 Black Lone Wolf Trailer, VIN# 4P7U612] 6BF0420004, NC Registration AA97070, the personal
property of Terry Alan Saine, such property having a value in excess.of $1,000.00.

 

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ll. And the jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county named
above the defendant named above unlawfully, willfully and feloniously did

break and enter a building, located at 4726 Hickory Grove Road, Gastonia, NC, with the intent to commit a felony therein. The
building was owned by Terry Alan Saine and was uscd as an out building/storage building.

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Il, And the jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county
named above the defendant named above unlawfully, willfully and fejeryoust7 di

steal, take, and carry away a fire pit and a Bissell carpet cleaner, the personal property of Terry Alan Saine, having a value of
less than $1,000.00.

 

 

 

 

 

 

ee
AEA EN eae BE Pie ER Oe WITNESSES / ae
Om Rheinson- Gaston County Police CoG 2016-38270
C1 5 Cole- Gaston County Police Cl
[2S Dover- Gaston County Police CO
CI 8 Roberts- Gaston County Police O

 

 

The Witnesses marked "X" were sworn by the undersigned Foreperson of the Grand Jury and, after hearing testimony, this
Bill was found to be:

A TRUE BILL by twelve or more grand jurors, and | the undersigned Foreperson of the Grand Jury, attest the concurrence
of twelve or more grand jurors in this Bill of Indictment.

(J NOT A TRUE BILL.

 

 

 

 

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Date : iggature Of Grand Jury Foreperson
Arw=lD [Ye LAO Bhndu..

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STATE OF NORTH CAROLINA De ectisiyes 51

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

GASTONIA
County Seat of Court -
- In The General Court Of Justice
NOTE: [Use AOC-CR-310 far DWI offense(s).] oO District Superior Court Division
STATE VERSUS JUDGMENT SUSPENDING SENTENCE - FELONY
Name Of Defendant PUNISHMENT: [_] COMMUNITY INTERMEDIATE
BLACKJEFFREY,DONALD (STRUCTURED SENTENCING)
Race Sex Date Of Birth (For Offenses Committed Dec. 1, 2011 - Nov. 30, 2016)
W M 05/22/1978 G.S. 15A-1 341, -1342, - 1343, -1343., 2, -1346
Attomey For State Def. Found Def. Waived |Attomey For Defendant [X] Appointed | Crt Rptr Initials
DEBORAH HATTON GULLEDGE O Not Indigent Cl atiomey LARRY G HOYLE [_| Retained JC
The defendant was found guilty/responsible, pursuant to plea (L_] pursuant to Alford) (_]of no contest) [_]trial by judge _[_] trial by jury, of
File No.(s) Off. Offense Description Offense Date G.S. No. F/M | CL. |*Pun. CL.
17CRS050352 51 |} LARCENY OF MOTOR VEHICLE (F) 08/03/2016 14-72(A) F | H
17CRS050352 52 | BREAKING AND OR ENTERING (F) 08/03/2016 14-54(A) F H
*NOTE: Enter punishment class if different from underlying offense class (punishment class represents a status or enhancement). PRIOR
The Court [X] 1. has determined, pursuant to G.S. 15A-1340.14, the prior record points of the defendant to be __10 RECORD Ci Oonitiyv

Any prior record level point under G.S, 15A-1340.14(b)(7) is based on the jury’s determination of this i issue F CL] 0 &X] [X] IV CL] v1
beyond a reasonable doubt or the defendant’s admission to this issue. VEL:
[_]2. makes no prior record level finding because none is required.
‘ourt (NOTE: Block 1 or 2 MUST be checked.):
. makes no written findings because the prison term imposed is within the presumptive range of sentences authorized under G.S. 15A-1340.17(c).
. makes the Determination of aggravating and mitigating factors on the attached AOC-CR-605.
. Makes the Findings of Extraordinary Mitigation set forth on the attached AOC-CR-606.
. finds the defendant has provided substantial assistance pursuant to G.S. 90-95(h)(5).
adjudges the defendant to be (check only one) CI a habitual felon to be sentenced four classes higher than the principal felony (no higher than Class C).
ols habitual breaking and entering status offender, to be sentenced as a Class E felon.
. finds enhancement pursuant to: [_] G.S. 90-95(e)(3) (drugs). [_]G.S. 14-3(c) (hate crime). [_] G.S. 50B-4.1 (domestic violence).
°F G.S. 14-50.22 (gang). [_] Other: . This finding is based on the
, ty s determination of this issue beyond a reasonable doubt or the defendant's admission.
. finds the above-designated offense(s) is a reportable conviction under G.S, 14-208.6 and therefore imposes the special conditions of probation
set forth on the attached AOC-CR-603C, Page Two, Side Two, and makes the additional findings and orders on the attached AOC-CR-615,
Side Two.
. finds the above-captioned offense(s) involve the (check all that apply) [J physical or mental [_]sexual abuse of a minor.
C (If No, 7 not found) and therefore imposes the special conditions of probation set forth on the attached AOC-CR-603C, Page Two, Side Two.
. finds thata [_] motor vehicle O commercial motor vehicle was used in the commission of the offense and that it shall be reported to DMV.
. finds this is an offense involving assault, communicating a threat, or an act defined in G.S. 50B-1(a), and the defendant had a personal relationship
as defined by G.S. 50B-1(b) with the victim.
. finds the above-designated offense(s) involved criminal street gang activity. G.S, 14-50.25,
. did not grant a conditional discharge under G.S. 90-96(a) because (check all that apply) O the defendant refused to consent.
[_] (offenses committed on or after Dec. 1, 2013, only) the Court finds, with the agreement of the District Attorney, that the offender is inappropriate for a
conditional discharge for factors related to the offense.
13. finds that the defendant used or displayed a firearm while committing the felony. G.S. 15A-1382.2.
14. finds that this was an offense involving child abuse or an offense involving assault or any of the acts as defined in G.S. 508-1(a) committed against
a minor. G.S, 15A-1382.1(a1).
The Court, having considered evidence, arguments of counsel and statement of defendant, Orders that the above offenses, if more than one, be
consolidated for judgment and the defendant be imprisoned
for a minimum term of 10 months | for a maximum term of 21 months in the custody of the N.C. DAC.

[_]This sentence shall run at the expiration of sentence imposed in file mumber Ct
The defendant shall be given credit for 4 days spent in confinement prior to the date of this Judgment as a result of this charge(s) to be applied

toward the C] sentence imposed above. | imprisonment required for special probation set forth on AOC-CR-603C, Page Two.
ee, = | SUSPENSION OF SENTENCE [20.0

Subject to the conditions set out below, the execution of this sentence is suspended and the defendant is placed c on (x] XJ supervised {_] unsupervised
probation for 30 months.
[-] 1. The Court finds thata [_]longer ([]shorter period of probation is necessary than that which is specified in G.S. 15A-1343.2(d).
[| 2. The Court finds that it is NOT appropriate to delegate to the Section of Community Corrections the authority to impose any of the requirements in
G.S. 15A-1343.2(e) for community punishment or G.S, 15A-1343.2(f) for intermediate punishment.
(_] 3. This period of probation shall begin (_] when the defendant Is released from incarceration [_|at the expiration of the sentence _ in the case below.
File No, Orfense County our [2°

 

 
  

HES.
Seen SSS
RESO SAS

 

 

 

 

4, The defendant shall comply with the conditions set forth in file number
5. The defendant shall provide ® a DNA Sample pursuant to G.S, 15A-266.4, (AOC-CR-319 required)

 

; j | MONETARY CONDITIONS cS
“The “defendant Fall pay to the Clerk of Superior Court the "Total Amount Due” shown below, plus the probation supervision fee if placed on supervised
probation above, pursuant toa schedule [X] determined by the probation officer, [_] set out by the court as follows:

 

 

 

 

 

 

 

 

 

 

Costs Fine Restitution” Attomey’s Fees Camm Serv Fee | EHA Fee S8M Fee Appt Fee/Misc Total Amount Due
$ 412,50 |$ $ 0,00 $ 0.00 $ 0.00 $ 0,00 $ 0,00 $ 0.00 $ 412.50
*See attached “Restitution Worksheet, Notice And Order (Initial Sentencing)” AOC-CR-611, which is Incorporated by reference.

 

+ The Court finds just cause to waive costs, as ordered on the attached CJ AOC-CR-618. OQ Other:

Upon payment of the “Total Amount Due,” the probation officer may transfer the defendant to unsupervised probation.
Malerial opposite unmarked squares is to be disregarded as surplusage,

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(Over)

 

 
 

~ a] _ REGULAR CONDITIONS OF PROBATION - G.S. 15A-1343(b) _[

 

NOTE: Any probationary judgment may be extended pursuant to G.S, 154-1342. The defendant shall: (1) Commit no criminal offense in any jurisdiction. (2) Possess no fi irearm,
explosive device, or other deadly weapon listed in G.S. 14-269. (3) Remain gainfully and suitably employed or faithfully pursue a course of study or vocational training, that will
equip the defendant for suitable employment, and abide by all rules of the institution. (4) Satisfy child support and family obligations, as required by the Court.

|f the defendant is on supervised probation, the defendant shall also; (5) Not abscond, by willfully avoiding supervision or by willfully making the defendant's whereabouts
unknown to the supervising probation officer. (6) Remain within the jurisdiction of the Court unless granted written permission to leave by the Court or the probation officer.

(7) Report as directed by the Court or the probation officer to the officer at reasonable times and places and in a reasonable manner, permil the officer to visit at reasonable
times, answer all reasonable Inquiries by the officer and obtain prior approval from the officer for, and notify the officer of, any change in address or employment. (8) Notify the
probation officer if the defendant fails to obtain or retain satisfactory employment. (9) Submit at reasonable times to warrantless searches by a probation officer of the defendant's
person and of the defendant's vehicle and premises while the defendant is present, for purposes directly related to the probation supervision, but the defendant may not be
required to submit to any other search that would otherwise be unlawful. (10) Submit to warrantless searches by a law enforcement officer of the defendant's person and of the
defendant's vehicle, upon a reasonable suspicion that the defendant is engaged in criminal activity or is in possession of a firearm, explosive device, or other deadly weapon
listed in G.S. 14-269 without written permission of the court. (11) Not use, possess, or control any illegal drug or controlled substance unless it has been prescribed for the
defendant by a licensed physician and is in the original container with the prescription number affixed on it; nol knowingly associate with any known or previously convicted users,
possessors, or sellers of any such illegal drugs or controlled substances; and not knowingly be present at or frequent any place where such illegal drugs or controlled substances
are sold, kept, or used. (12) Supply a breath, urine, or blood specimen for analysis of the possible presence of prohibited drugs or alcohol when instructed by the defendant's
probation officer for purposes directly related to the probation supervision, If the results of the analysis are positive, the probationer may be required to reimburse the Division of
Adult Correction for the actual costs of drug or alcohol screening and testing.

[_]13. The Court finds that the defendant is responsible for acts of domestic violence and therefore makes the additional findings and orders on the
attached AOC-CR-603C, Page Two, Side Two. :
; SPECIAL CONDITIONS OF PROBATION - G.S. 15A-1343(b1) [0

“The defendant shail also comply with the following special conditions which the Court finds are reasonably related to the defendant's rehabilitation:
(114. Surrender the defendant's drivers license to the Clerk of Superior Court for transmittal/notification to the Division of Motor Vehicles and not operate

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a motor vehicle for a period of or until relicensed by the Division of Motor Vehicles, whichevemis late Ay IV |
: 15. Successfully pass the General Education Development Test (G.E.D.) during the first months of the/period of p Po4
16. Complete hours of community service during the first days of the period of probation/ as sacl Dy»
coordinator. The fee prescribed by G.S. 143B-708 is 2 ‘

  
 
 

not due because it is assessed in a case adjudicated during the same term of court.
to be paid CT pursuant to the schedule set out under Monetary Conditions on the reverse. C withi
and before beginning service. i
(17. Report for initial evaluation by Lar
participate in all further evaluation, counseling, treatment, or education programs recommended as a lier cme = a oRply with all.

ys j this FPigBpment

other therapeutic requirements of those programs until discharged.
CL] 18. Not assault, threaten, harass, be found in or on the premises or workplace of, or have any contact with ~~
“Contact” includes any defendant-initiated contact, direct or indirect, by any means, including, but not limited Sa je arareonike e enya
pager, gift-giving, telefacsimile machine or through any other person, except Bos dy .
ia 19. (for offenses committed on or after December 1, 2012) Abstain from alcohol consumption and submit to continuous alcohol monitoring
[_]days, [_]months, the Court having found that a substance abuse assessment has identified defendant's alcohol depefderfcy or
chronic abuse.

X] 20. :
© QISIDE BY ALL REGULAR TERMS OF PROBATION; SUBMIT TO DNA SAMPLE AS REQUIRED BY

STATUTE; PERFORM COMMUNITY SERVICE IF REQUIRED AT THE DISCRETION OF PROBATION;
PAY THE FEE IF COMM SERV IS REQUIRED; DEFENDANT TO SUBMIT TO ANY SUBSTANCE ABUSE
AND/OR EDUCATIONAL TREATMENT DEEMED NECESSARY BY PROBATION; DEFENDANT TO
REMAIN IN THE COUNTY OF RESIDENCE; CONTRABAND ORDERED DESTROYED; CIVIL JUDGMENT
FOR ATTY FEE ($1080)/ATTY APPT FEE ($60) May transfer to MECKLENBURG County for supervision.

 

 
    

  

 

21, pele, with the Special Conditions Of Probation which are set forth on AOC-CR-603C, Page Two.
eo | ORDER OF COMMITMENT/APPEAL ENTRIES |

 

CL] 4. It is ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff or other qualified officer and that the
officer cause the defendant to be delivered with these copies to the custody of the agency named on the reverse to serve the sentence imposed or
until the defendant shall have complied with the conditions of release pending appeal.

O 2. The defendant gives notice of appeal from the judgment of the trial court to the Appellate Division. peel entries and any conditions of post

 

conviction release are set forth on form AOC-CR-350.

ae Re a | _ SIGNATURE OF JUDGE

 

 

 

 

 

Date Name Of Presiding Judge (type or print) Signature ate L (a
ected THE HONORABLE HUGH B LEWIS be
Ca ee eee ae | ~—CCERTIFICATION §=|[ReY Oe a

| certify that this Judgment and the attachment(s) marked below is a true and complete copy of the Stiginal which is is on file in this case.

 

 

LJ] 4. Appellate Entries (AOC-CR-350) [x] 6. Judicial Findings As To Required DNA Sample (AOC-CR-319)
[_] 2. Judgment Suspending Sentence (AOC-CR-603C, Page Two) [_] 7. Judicial Findings And Order For Sex Offenders - Suspended
(additional conditions of probation) Sentence (AOC-CR-615, Side Twa)
[_] 3. Felony Judgment Findings Of Aggravating And Mitigating Factors [_] 8. Convicted Sex Offender Permanent No Contact Order (AOC-CR-620)
(AOC-CR-605) 9. Additional File No.(s) And Offense(s) (AOC-CR-626)
: 4. Extraordinary Mitigation Findings (AOC-CR-606) HS Other:
5. Restitution Worksheet, Notice And Order (Initial Sentencing)

(AOC-CR-611) f+
Date Date Certified Capies Delivered To Sheriff Signature OFS 7. Ny Deputy CSC [_] Asst. CSC
10/03/2017 [_] Clerk Of Superior Court

 

 

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Material opposite unmarke be be dpttaaried as surplusage.
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p> File No.
Name Of Defendant
BLACK,JEFFREY,DONALD
NOTE: Use this page with AOC-CR-603C, “Judgment Suspending Sentence - Felony", AOC-CR-604C, “Judgment Suspending Sentence - Misdemeanor’,
AOC-CR-619C, "Conditional Discharge Under G.S. 90-96(a)", AOC-CR-621C, "Conditional Discharge Under G.S. 14-50,.29"; AOC-CR-627C,
"Conditional Discharge Under G.S. 90-96(a1)"; AOC-CR-628C, “Conditional Discharge Under G.S. 14-204(b)”;
AOC-CR-632C, "Conditional Discharge Under G.S. 15A-1341(a4)"; or AOC-CR-633C, “Conditional Discharge Under G.S. 154-1341 (a5)";
for offenses committed from Dec. 1, 2011, through Nov. 30, 2016.

COMMUNITY AND INTERMEDIATE PROBATION CONDITIONS - G.S. 15A-1343(a1)

In addition to complying with the regular and any special conditions of probation set forth in the “Judgment Suspending Sentence” entered in the abov
case(s), the defendant shall also comply with the following conditions of probation, which may be imposed for any community or intermediate punishment.
1. Submit to house arrest with electronic monitoring, remain at the defendant's residence for a period of days, months, abide by all
rules, regulations, and directions of the probation officer regarding such monitoring, and pay the fees prescribed in G.S, 15A-1343(c) as provided
under Monetary Conditions. The defendant may leave the residence for the following purpose(s) and as otherwise permitted by the probation officer:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

employment [_|counseling (_]acourse of study [_] vocational training.
Other:
(_]2. Complete —_______ hours of community service during the first days of the period of probation, as directed by the judicial services
coordinator. The fee prescribed by G.S. 143B-708 is
not due because it is assessed in a case adjudicated during the same term of court.
[_] to be paid C] pursuant to the schedule set out under Monetary Conditions in the “Judgment Suspending Sentence.” im within days
of this Judgment and before beginning service.
Other:
(13. Submit to the following petiod(s) of confinement in the custody of the [_] Sheriff of this County. [] (other
local confinement facility). and pay jail fees. The defendant shall report in a sober condition to serve the term(s) indicated below,
NOTE: Periods of confinement imposed here must be for two-day or three-day consecutive periods, only, for no more than six days in a single month, and in no more
than three separate months during the period of probation, To impose special probation under G.S. 154-1351, see INTERMEDIATE PUNISHMENTS, below.
Date ‘Hour |CIAM for (2days | | Date Hour |CJAM for Ci2days | | Date Hour |TDAM for (12 days
OPM O13 days OPM 013 days OPM O13 days
Date Hour {CAM for Oi2days | | Date Hour |CAM for O2 days | | Date Hour |QAM for O12 days
OPM (13 days OPM (13 days (OPM O13 days
Date Hour |CIAM for O2days | | Date Hour |OJAM for O2days | | Date Hour |QAM for O12 days
. CPM C13 days OPM 13 days OPM 013 days
C 4. Obtain a substance abuse assessment, monitoring, or treatment as follows:
C] 5. (for offenses committed on or after December 1, 2012) Abstain from alcohol consumption and submit to continuous alcohol monitoring for a period of
days, [_]months, the Court having found that a substance abuse assessment has identified defendant's alcohol dependency or
chronic abuse.
C] 6. Participate in an educational or vocational skills development program as follows:

 

 

 

(_]7. Submit to satellite-based monitoring, if required on the attached AOC-CR-615, Side Two.

CL RE ee | INTERMEDIATE PUNISHMENTS aa ee RC ee
In addition to complying with the regular and any special, community, or intermediate conditions of probation set forth in the "Judgment Suspending
Sentence” or herein for the above case(s), the defendant shall also comply with the following intermediate punishment(s) under G.S. 15A-1340.11(6).
4. Special Probation - G.S. 15A-1351
For the defendant's active sentence as a condition of special probation efendant shall comply with these additional reqular conditions of
probation: (1) Obey the rules and regulations of the Division of Adult Correction governing the conduct of inmates while imprisoned. (2) Report to a
probation officer in the State of North Carolina within seventy-two (72) hours of the defendant's discharge from the active term of imprisonment.
A. Serve an active term of____ 4 _[X| days months hours _ in the custody of the
N.C. DAC. (_]Sheriff of this County. [7] Other: .
(NOTE: Noncontinuous periods of special probation may not be served in DAC. Also, special probation imposed in misdemeanor sentences on or after Oct. 1,
2014, may not be served in DAC.)

 

 

 

B. The defendant shall report in a sober condition to begin serving his/her term on:
Pp no
Day Date Hour OAM and shall remain in Day Date Hour CAM
OPM custody until: CPM

 

 

 

 

 

 

 

CJc.

The defendant shall again report in a sober condition to continue serving this term on the same day of the week for the next

consecutive weeks, and shall remain in custody during the same hours each week until completion of the active term ordered.
(_]D. This term shall be served at the direction of the probation officer within days months _ of this judgment.
E. Pay jail fees. F. Work release is recommended. G. Substance abuse treatment is recommended.
H.

Other, CREDIT FOR TIME SERVED
Drug Treatment Court - G.S. 15A-1340.11(3a); 15A-1340.11(6)
Comply with the rules adopted for the program as provided for in Article 62 of Chapter 7A of the General Stalutes and report on a regular basis for a
specified time to participate in court supervision, drug screening or testing, and drug or alcohol treatment programs.
Other:

O2.

 

 

ra eae oe INTERMEDIATE CONDITIONS OF PROBATIONS - G.S. 15A-1343(b4) faery ;
If subject to intermediate punishment, the defendant shall, in addition to the terms and conditions imposed above, comply with the following intermediate conditions of probation,
(1) If required by the defendant’s probation officer, perform community service under the supervision of the Section of Community Corrections, and pay the fee required by
G.S, 1438-708, but no fee shall be due if the Court imposed community service as a special condition of probation and assessed the fee In this judgment or any judgment for an
offense adjudicated in the same term of court. (2) Not use, possess, or contral alcohol. (3) Remain within the defendant's county of residence unless granted written permission
to leave by the court or the defendant's probation officer, (4) Participate in any evaluation, counseling, treatment, or educational pragram as directed by the prabation officer,
keeping all appointments by abiding by the rules, regulations, and direction of each program.

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(Over)
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MANDATORY SPECIAL CONDITIONS FOR SEX OFFENDERS AND PERSONS CONVICTED OF
OFFENSES INVOLVING PHYSICAL, MENTAL, OR SEXUAL ABUSE OF A MINOR - G.S. 15A-1343(b2)

 

 

 

NOTE: The following are not defined as intermediate punishments under G.S. 15A-1340.11(6).
NOTE: Select only one of the three sets of conditions below.
1. Special Conditions For Reportable Convictions - G.S. 15A-1343(b2)
NOTE: Impose only for a reportable conviction under G.S. 14-208.6.
The defendant has been convicted of an offense which is a reportable conviction as defined in G.S. 14-208.6(4) and must
a, Register as a sex offender and enroll in satellite-based monitoring if required on the attached AOC-CR-615, Side Two.
b. Participate in such evaluation and treatment as is necessary to complete a prescribed course of psychiatric, psychological, or other
rehabilitative treatment as ordered by the court.
c. Not communicate with, be in the presence of, or found in or on the premises of the victim of the offense.
C d. (ifthe Court finds physical, mental, or sexual abuse of a minor) Not reside in a household with

(1) (for sexual abuse) any minor child.

(2) (for physical or mental abuse) any minor child C other than the child(ren) named below, for whom the court expressly finds that it is
unlikely that the defendant's harmful or abusive conduct will recur and that it would be in the best interest of the child(ren) named
below to reside in the same household with the probationer. (Name minor child(ren) with whom the probationer may reside in the same
household);

e. Submit at reasonable times to warrantless searches by a probation officer of the defendant's person, of the defendant's vehicle and
premises, and of the defendant’s computer or other electronic mechanism which may contain electronic data, while the defendant is
present, for the following purposes which are reasonably related to the defendant's probation supervision: Co child pornography

 

 

f. Other:

[] 2. Special Conditions For Offenses Involving The Sexual Abuse Of A Minor - G.S. 15A-1343(b2)
NOTE: Impose if offense involved sexual abuse of a minor but is not a reportable conviction.
The defendant has been convicted of an offense involving the sexual abuse of a minor and must
a. Participate in such evaluation and treatment as is necessary to complete a prescribed course of psychiatric, psychological, or other
rehabilitative treatment as ordered by the court.
b. Not communicate with, be in the presence of, or found in or on the premises of the victim of the offense.
c. Not reside in a household with any minor child. (G.S. 15A-1343(b2)(4))
d. Submit at reasonable times to warrantless searches by a probation officer of the defendant's person, of the defendant’s vehicle and
premises, and of the defendant's computer or other electronic mechanism which may contain electronic data, while the defendant is
pyr for the following purposes which are reasonably related to the defendant’s probation supervision: Co child pornography

e. Other:

 

(1 3. Special Conditions For Offenses Involving The Physical Or Mental Abuse Of A Minor - G.S. 15A-1343(b2)
NOTE: /mpose if offense involved physical or mental abuse of a minor but is not a reportable conviction and did not involve sexual abuse.
The defendant has been convicted of an offense involving the physical or mental abuse of a minor and must

a. Participate in such evaluation and treatment as is necessary to complete a prescribed course of psychiatric, psychological, or other
rehabilitative treatment as ordered by the court.
b. Not communicate with, be in the presence of, or found in or on the premises of the victim of the offense.
c. Not reside in a household with
(1) any minor child.
(2) any minor child other than the child(ren) named below, for whom the court expressly finds that it is unlikely that the defendant's
harmful or abusive conduct will recur and that it would be in the best interest of the child(ren) named below to reside in the same
household with the probationer. (Name minor child(ren) with whom the probationer may reside in the same household):

 

d. Submit at reasonable times to warrantless searches by a probation officer of the defendant's person, of the defendant’s vehicle and
premises, and of the defendant's computer or other electronic mechanism which may contain electranic data, while the defendant is
resent, for the following purposes which are reasonably related to the defendant's probation supervision: | child pornography

 

e, Other

 

 

 

oe d ADDITIONAL CONDITIONS FOR DOMESTIC VIOLENCE hea ie

Ol 1. Pursuant to its finding that the defendant is responsible for acts of domestic violence, the Court further finds that: :
a. there is an abuser treatment program, approved by the Domestic Violence Commission, reasonably available to the defendant, who shall:
(1) (for supervised probation) attend and complete (check one) [_]| (program name)
[ a program to be identified by the probation officer, and abide by the program’s rules. The probation officer shall send a copy of
this Judgment to the program, which shall notify the officer if the defendant fails to participate or is discharged for violating any
of its rules.
| (2) ee eee een ky attend and complete (check one) C) (program name)
a program chosen by the defendant, who shall notify the program and the district attorney of that choice within ten (10) days
of the entry of this judgment, and abide by the program's rules. The district attorney shall send a copy of this judgment to the
program, which shall notify the district attorney if the defendant fails to participate or is discharged for failure to comply with the
program or its rules.
L] . there is no approved abuser treatment program reasonably available, C] c. it would not be in the best interests of justice to order the
defendant to complete an abuser treatment program because
LJ 2. As additional Special Conditions of Probation, the defendant shall:
a. not come within feet of

 

 

 

 

 

 

f Le. at any time.
b, comply fully with any G.S. Chapter 50B Domestic Violence Protective Order in effec!
The above conditions are incorporated in the “Judgment Suspending Sentence” in the above FEE an wht of.
Date Name Of Presiding Judge (type or print) Signat Presi Ay e
10/03/2017 THE HONORABLE HUGH B LEWIS VAS” yA

 

 

 

Material apposite unmarked squares Is to be disregarde assy rifsasey”

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STATE OF NORTH CAROLINA Pe” sensos0ss2 s1

 

In The General Court Of Justice

 

 

 

GASTON County C1 District Superior Court Division
STATE VERSUS
‘Name Of Defendant ADDITIONAL FILE NO.(S) AND OFFENSE(S)
BLACK,JEFFREY,DONALD

 

 

NOTE: Use this page in conjunction with all NCAOC judgment or probationary forms, to list additional offenses of conviction, deferred prosecution, or
conditional discharge addressed in the court's order. There are no A, B, C, D, or other variations of this form, so this page can be used to continue
an offense list from any of the related forms, for any date(s) of offense or conviction.

 

File No.(s) Off. Offense Description Offense Date G.S, No. F/M | CL. "Tan.

 

17CRS050352| 53 | MISDEMEANOR LARCENY 08/03/2016 14-72(A) M} 1

 

 

 

 

 

 

 

 

*NOTE: Enter punishment class if different from underlying offense class (punishment class represents a status or enhancement).

 

(Over)
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ADDITIONAL FILE NO.(S) AND OFFENSE(S)

| Cah ea P ae

 

File No.(s) Off.

Offense Description Offense Date

G.S. No.

F/M

CL.

“Pun,
cL.

 

 

 

 

 

 

 

 

 

 

*NOTE: Enter punishment class if different from underlying offense class (punishment class represents a status or enhancement).

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